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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

RICHARD LOWERY, on behalf of             §
himself and others similarly situated,   §
                                         §
       Plaintiff,                        §
                                         §
v.                                       §
                                         §
TEXAS A&M UNIVERSITY; M.                 §
KATHERINE BANKS, in her official         §
capacity as President of Texas A&M       §
University; ALAN SAMS, in his official §
                                           Civil Action No. 4:22-cv-3091
capacity as Interim Provost and Vice     §
President for Academic Affairs for Texas §
A&M University; ANNIE S.                 §
MCGOWAN, in her official capacity as §
Vice President and Associate Provost for §
Diversity at Texas A&M University; and §
N.K. ANAND, in his official capacity as §
Vice President for Faculty Affairs at    §
Texas A&M University,                    §
                                         §
       Defendants.                       §

                    DEFENDANTS’ MOTION TO DISMISS
                 PLAINTIFF’S FIRST AMENDED COMPLAINT

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       Defendants move to dismiss Plaintiff’s First Amended Complaint (Dkt. 19) under

Rules 12(b)(1) and 12(b)(6).

                                    INTRODUCTION

       None of Plaintiff’s new allegations remove this case from the hypothetical realm.

Plaintiff, a tenured professor at the University of Texas at Austin (“UT”), still claims he

wants to apply for a position at Texas A&M University (“TAMU”) but he believes that

institution “has been systematically discriminating” against white and Asian men. In

support, Plaintiff cites the same two documents attached to his original complaint: a July

2022 memorandum announcing a prospective fellowship for qualifying new faculty at

TAMU and an August 2022 email exchange between two TAMU professors about a

“potential[]” new faculty position. The only new facts relate to actions that Plaintiff alleges

TAMU’s president took during her previous tenure at TAMU’s college of engineering, an

advisory resolution by TAMU’s Faculty Senate supporting diversity, and another fellowship

at TAMU for early career PhDs. These charges add nothing of legal significance.

       The same is true of Plaintiff’s new “facts related to standing,” which only confirm

that Plaintiff has never applied to TAMU and cannot identify any victim of discrimination.

In fact, Plaintiff now affirms he will not apply to TAMU given its alleged policies, yet he

admits he already has applied to another state university (the University of Florida) whose

website lists “inclusion” among its “core values” and touts its Chief Diversity Officer and

its efforts to recruit faculty of color. Nevertheless, Plaintiff restates his demand that this

Court enjoin TAMU and act as its HR czar by “pre-clear[ing]” all hiring decisions.




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       Courts are not legislatures. They can decide only concrete cases brought by injured

parties. Article III “serves to prevent the judicial process from being used to usurp the

powers of the political branches.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013).

The Court should reject Plaintiff’s effort to subvert these foundational principles.

                               FACTUAL BACKGROUND

       TAMU is a public institution of higher education located in College Station. First

Am. Compl. (“FAC”) ¶ 4.

       Plaintiff Richard Lowery is a tenured professor of finance at UT. FAC ¶¶ 3, 44. He

alleges that TAMU, “along with nearly every university in the United States, discriminates

on account of race and sex when hiring its faculty, by giving discriminatory preferences to

female or non-Asian minorities.” Id. ¶ 9. He attributes this to “so-called diversity, equity,

and inclusion offices” and charges the very “existence of these offices” with “encouraging

wholesale violations of civil-rights laws throughout our nation’s university system.” Id.

¶ 11. Regarding TAMU, Plaintiff relies on two exhibits for support. See id. ¶¶ 15–22; FAC

Exs. 1, 2 (Dkt. 19-1, 19-2).

       The first exhibit is a memorandum dated July 8, 2022 from Defendant Annie

McGowan, VP and Associate Provost for Diversity, and Defendant N.K. Anand, VP for

Faculty Affairs, to “Deans” at TAMU, titled “New ACES Plus Fellowship.” FAC Ex. 1.

The memorandum announces a fellowship program designed to attract “promising

faculty.” Id. Citing TAMU’s designation as a “Hispanic Serving Institution,” the

memorandum states that TAMU “is charged with expanding the capacity of low-income,

first-generation Hispanic students, and other underserved students and their communities,”


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and “[i]ncreasing opportunities for underserved students to interact and engage with faculty”

that share their experiences is “essential to achieving this goal.” Id.

       ACES Plus would provide 50% matching salary and benefits to participating

departments to fund qualifying new hires. Id. Specifically, “[f]or the FY 23 and FY 24, the

VP for Faculty Affairs will allocate a sum of $2 million” for the program, to be used for

“new mid-career and senior tenure-track hires from underrepresented minority groups, that

contribute to moving the structural composition of our faculty towards parity with that of the

State of Texas.” Id. Interested parties must submit proposals, with administrators’ support,

and funding decisions “will be made” by the VP for Faculty Affairs “with input from the

Office for Diversity.” Id. Nothing in the memorandum, however, indicates that anyone has

been hired, nor that applicants of any race or gender will be excluded from consideration.

       In fact, before Plaintiff amended his pleadings, Drs. McGowan and Anand issued

an updated version of this memorandum confirming as much. The new memorandum,

dated December 14, 2022, “clarifies information regarding the ACES Plus Program

contained in our memo dated July 8, 2022.” Declaration of M. Carter Crow (“Crow Decl.”)

Ex. 1.1 It explains that the program’s objective “is to recruit outstanding faculty members


1
 The Court may consider the updated memorandum on this motion. It bears directly on
Plaintiff’s Article III standing, given that Plaintiff’s asserted injury stems from the alleged
ongoing use of “racial set-asides” in ACES Plus, see FAC ¶¶ 16, 31, 45–46, and so is
properly before the Court under Rule 12(b)(1), see infra pp. 7–8. Likewise, it may be
considered under Rule 12(b)(6) because its predecessor is “referred to in the complaint[]”
and is “central to the plaintiff[’s] claims.” In re Katrina Canal Breaches Litig., 495 F.3d
191, 205 (5th Cir. 2007). The original memorandum has been superseded, and Plaintiff
cannot deny the Court the operative version by refusing to acknowledge its existence. See
Carter v. Target Corp., 541 F. App’x 413, 417 (5th Cir. 2013) (per curiam) (considering


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with records for research, teaching and/or scholarship in areas that promote campus

diversity as an element of academic excellence.” Id. It also confirms that “[a]ll hiring

decisions for this program will be made on an equal employment opportunity basis,

without regard to the applicant’s race, gender or other protected classification, in full

compliance with the Texas A&M policy on equal employment opportunity,” and that

“[q]ualified applicants are not limited to underrepresented minority groups.” Id.

(emphasis added). Moreover, it states that “we have not hired anyone” or “extended any

offers for employment.” Id. Despite receiving this memorandum, Crow Decl. ¶ 1, Plaintiff

never mentions it.

       The second exhibit is an email exchange between “Shane A. Johnson,” whom

Plaintiff identifies as “the head of the recruiting committee for the department of finance for

2022–23,” and an unidentified TAMU faculty member. FAC ¶¶ 20–21. The latter writes: “I

heard from someone that one of our lines is reserved for an ‘underrepresented minority.’

Is that correct?” FAC Ex. 2. Professor Johnson responds, “The underrepresented line would

potentially be a third position, so yes reserved, but not one of our ‘regular’ positions.” Id.

(emphasis added). Again, there is no indication of any actual employment action.




plaintiff’s EEOC charges under Rule 12(b)(6) because “[t]heir contents are essential to
determining” the issues and “[plaintiff’s] failure to include them does not allow her
complaint to bypass [defendant’s] motion to dismiss unexamined”); cf. Magellan Int’l
Corp. v. Salzgitter Handel GmbH, 76 F. Supp. 2d 919, 922–23 (N.D. Ill. 1999) (considering
full chain of correspondence under Rule 12(b)(6) despite plaintiff’s reference to select
messages and noting the “wasteful[ness]” of “uphold[ing] a claim on the false premise
created by less than complete documentation”).

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        Endeavoring to paint these initiatives as part of a discriminatory hiring system,

Plaintiff scatters in allegations concerning other events at TAMU. He refers first to hiring

directives supposedly issued by TAMU’s current president, Defendant M. Katherine

Banks, in her former capacity as dean of the college of engineering, and charges—without

elaboration—that she “is continuing to promote and impose these discriminatory practices

as university president.” FAC ¶¶ 12–14. Plaintiff next avers that “[t]he use of

discriminatory race and sex preferences” in hiring “has been enthusiastically embraced”

by TAMU’s Faculty Senate,” quoting an October 2022 meeting at which that body

approved a resolution “support[ing] the goals of programs, such as ACES and ACES Plus,

that aim to diversify the ranks of faculty to better represent our state and our student body.”

Id. ¶¶ 23–29. While Plaintiff implies that the Faculty Senate’s actions are imputable to

TAMU, university policy dictates that it serves in a purely “advisory capacity” to the

President. Crow Decl. Ex. 2.2 Lastly, Plaintiff contends that TAMU “would reserve hiring

spots for underrepresented-minority candidates” under “the original ACES program.” FAC

¶ 30. The ACES Fellows Program, however, is directed to “early career faculty” at select

TAMU colleges—not including the Mays Business School—and, like ACES Plus, is

subject to TAMU’s Equal Employment Opportunity policy. Crow Decl. Ex. 3.3




2
  This is a matter of public record, accessible online, that is properly before the Court.
Norris v. Hurst Tr., 500 F.3d 454, 461 n.9 (5th Cir. 2007).
3
  This website is likewise properly before the Court, given Plaintiff’s reference to the
program and its centrality to his claims and asserted injury. See Katrina, 495 F.3d at 205;
infra pp. 7–8.

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        Plaintiff re-alleges that he “stands ‘able and ready’ to apply for a faculty

appointment” at TAMU. FAC ¶ 34. Then, for the first time, he pleads facts intended to

substantiate that assertion. Id. ¶¶ 35–44. After denouncing his current employer, Plaintiff

alleges that he “is especially interested in applying for a faculty appointment at [TAMU],”

citing its location, his “good relationships” with its faculty, and his view that—

notwithstanding every other allegation—TAMU is “one of the few universities in the

United States where some departments might consider hiring an outspoken conservative at

[his] career stage.” Id. ¶¶ 35–40. Plaintiff adds that he “is actively assisting efforts at

[TAMU] to establish something akin to the Liberty Institute” at UT4 and that he “gave an

informal lunch talk” to TAMU’s finance department in April 2022 “in the hopes of

generating interest” in “a possible future appointment.” Id. ¶¶ 42–43. Although this makes

him “an exceptionally strong candidate,” together with his “already-tenured” status, Plaintiff

declares that he “will not” apply to TAMU “until he can compete on an even playing field.”

Id. ¶¶ 41, 44. In fact, Plaintiff claims, he “would have already applied” to TAMU “were the

university not using these discriminatory hiring practices.” Id. ¶ 41.

        Meanwhile, Plaintiff boasts that he “has already applied for a faculty appointment

at the University of Florida” (“UF”). Id. ¶ 38. Like TAMU, UF maintains a webpage

describing its diversity, equity, and inclusion (“DEI”) programs. Crow Decl. Ex. 5. That


4
  On the cited podcast, Plaintiff says the Liberty Institute was hijacked and he “do[esn]’t
want to just walk away from having taken $6 million from taxpayers and having it
squandered on insanity.” FAC ¶ 35 n.1, at 1:03:54. Further, Plaintiff just sued UT to enjoin
it from hindering his ongoing employment in response to his critiques. See Crow Decl. Ex.
4. Plaintiff’s own statements, like the below public records, present jurisdictional facts
reviewable under Rule 12(b)(1). See infra pp. 7–8.

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page proclaims that “inclusion is one of our six central values” and links to other DEI-

related resources, including the site of UF’s Chief Diversity Officer (“CDO”). Id. The CDO

is “a member of the president’s cabinet” charged with “chart[ing] [UF’s] inclusive

excellence strategy.” Crow Decl. Ex. 6. UF also has an official “Anti-Racism” site that lists

“Representation” as a “Central Initiative” and tasks UF leadership with “intensify[ing] our

efforts in recruiting, supporting and retaining our students, faculty and employees of color.”

Crow Decl. Ex. 7. Despite linking the mere “existence of [DEI] offices” and racial

“preferences” to discrimination, FAC ¶¶ 10–11, Plaintiff submitted an application to UF

and has claimed no injury.

       Ignoring the requirements of Title VII, Plaintiff asserts three claims: Violations of

Title VI and Title IX (Count 1), Section 1981 (Count 2), and the Equal Protection Clause

(Count 3). Id. ¶¶ 48–65.

                           ISSUES REQUIRING RESOLUTION

       This motion presents three issues: first, whether this Court has subject-matter

jurisdiction; second, whether sovereign immunity bars Counts 2–3; and third, whether

Plaintiff has stated a claim in Counts 1–3.

                                  LEGAL STANDARDS

       Rule 12(b)(1) requires dismissal if the Court “‘lacks the statutory or constitutional

power to adjudicate’ the claim[s].” In re FEMA Trailer Formaldehyde Prods. Liab. Litig.,

668 F.3d 281, 286 (5th Cir. 2012). “A district court may dismiss a case under Rule 12(b)(1)

based on ‘(1) the complaint alone; (2) the complaint supplemented by undisputed facts

evidenced in the record; or (3) the complaint supplemented by undisputed facts plus the


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court’s resolution of disputed facts.’” In re S. Recycling, L.L.C., 982 F.3d 374, 379 (5th

Cir. 2020). When defendants “factually” attack standing by offering evidentiary materials,

the plaintiff “‘must prove the existence of subject-matter jurisdiction by a preponderance

of the evidence’ and is ‘obliged to submit facts through some evidentiary method to sustain

his burden.[’]” Superior MRI Servs., Inc. v. Alliance Healthcare Servs., Inc., 778 F.3d 502,

504 (5th Cir. 2015).

       Rule 12(b)(6) similarly requires dismissal if a complaint does not “contain enough

facts to state a claim to relief that is plausible on its face.” Moncibaiz v. Pfizer Inc., 532 F.

Supp. 3d 452, 456 (S.D. Tex. 2021). Courts “will not ‘strain to find inferences favorable to

the plaintiff[]’” or “accept conclusory allegations, unwarranted deductions, or legal

conclusions.” Southland Sec. Corp. v. INSpire Ins. Solutions, Inc., 365 F.3d 353, 361 (5th

Cir. 2004).

                                        ARGUMENT

       The amended complaint should be dismissed under Rules 12(b)(1) and 12(b)(6).

First, Plaintiff cannot establish subject-matter jurisdiction, as he lacks standing to press

employment-discrimination claims based on incipient initiatives at an institution to which

he refuses to apply, and, relatedly, his claims are unripe. Second, Defendants enjoy

sovereign immunity against Counts 2–3. Third, all claims fail as a matter of law. Title VI

authorizes suits in circumstances not present here, and Plaintiff lacks both statutory

standing and grounds for relief. So too for Title IX, which Plaintiff still pleads no facts to

implicate. Regarding Counts 2–3, both claims can be asserted only through Section 1983

and Plaintiff cannot plead the requisite elements.


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I.       The Court Lacks Subject-Matter Jurisdiction

         As a threshold matter, Plaintiff cannot sustain the Court’s subject-matter jurisdiction.

         A.     Plaintiff Lacks Article III Standing

         To establish standing, Plaintiff must demonstrate “(1) an ‘injury in fact’ that is

(2) ‘fairly traceable’ to the ‘conduct complained of’ and that is (3) likely redressable by a

favorable court decision.” Earl v. Boeing Co., 53 F.4th 897, 901 (5th Cir. 2022). Standing

must exist at all times, Carney v. Adams, 141 S. Ct. 493, 499 (2020), and be satisfied “for

each claim that [plaintiffs] press and for each form of relief that they seek,” TransUnion

LLC v. Ramirez, 141 S. Ct. 2190, 2208 (2021).

         “As the Supreme Court has repeatedly instructed, standing requires a claim of injury

that is ‘concrete, particularized, and actual or imminent.’ That means a claimed injury must

be real—‘it must actually exist.’ And it must not be too speculative for Article III

purposes.’” Earl, 53 F.4th at 901–02 (citations omitted). The lone injury alleged by

Plaintiff is a lost opportunity to “compet[e] with other applicants” for professorships at

TAMU “on an equal basis.” FAC ¶ 45. But because he has never applied to TAMU,

Plaintiff alleges only that he “stands ‘able and ready’ to apply.” Id. ¶ 34. For this to rise

above the “some day intentions” that fail to demonstrate “‘actual or imminent’ injury,”

Carney, 141 S. Ct. at 502, Plaintiff must show that “he took some actual steps that

demonstrate a real interest in seeking the alleged benefit,” and that he has “a ‘direct stake

in the outcome of a litigation,’ rather than a ‘mere interest in the problem,’” Ellison v. Am.

Bd. of Orthopaedic Surgery, 11 F.4th 200, 206 (3d Cir. 2021). After all, “a grievance that




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amounts to nothing more than an abstract and generalized harm to a citizen’s interest in the

proper application of the law does not count as an ‘injury in fact.’” Carney, 141 S. Ct. at 498.

       Plaintiff falls squarely in the abstract-grievance camp. Most importantly, Plaintiff

disavows any present intention to apply to TAMU. FAC ¶ 41. His explanation—that he

was deterred by TAMU’s “discriminatory hiring practices” and otherwise “would have

already applied”—withers under scrutiny. Plaintiff admits that he did apply to another state

university (UF) with the kind of DEI initiatives he decries at TAMU and blames for

“wholesale violations of civil-rights laws” nationwide. Id. ¶¶ 9, 11, 38; Crow Decl. Exs. 5–

7. He also has signaled, through media appearances and litigation, that he wants to stay at

UT. See supra note 4. These facts indicate that Plaintiff has no more than “a hypothetical

‘some day interest’ in possibly” applying to TAMU and his purported injury is “neither

concrete nor imminent.” Ellison, 11 F.4th at 208–09.

       Further, Plaintiff’s position assumes his conclusion (i.e., that his allegations evince

ongoing discrimination) and, if accepted, would create a gaping loophole in Article III for

employment-discrimination claims. Any plaintiff could sue any potential employer without

ever applying for a job and simply allege that he would have applied but for the employer’s

discriminatory practices. This is precisely the danger the Court foresaw in Carney: That

accepting a “few words of general intent—without more and against all contrary

evidence—[as] sufficient” to show injury “would significantly weaken the longstanding

legal doctrine” barring advisory opinions to plaintiffs who “believe[] that the government

is not following the law.” 141 S. Ct. at 501. Indeed, as the Court observed, each case

Plaintiff cites here included evidence that the party claiming discrimination had previously


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applied to the challenged program and intended to do so again. Compare id. at 502–03,

with FAC ¶ 45.

       Moreover, the only arguable facts concerning employment discrimination at TAMU

relate to initiatives that have not been implemented or for which Plaintiff is ineligible.

Disregarding Plaintiff’s allegations regarding Dr. Banks’s actions in her previous position,

which (even accepted) do not show present discrimination at TAMU as a whole, and those

regarding the Faculty Senate, which has no legal authority over TAMU, all that remains is

ACES Plus, the “reserved” hiring line, and ACES Fellows. The first is in embryonic

form—no offers have been extended. See Crow Decl. Ex. 1. The second, as alleged, is an

additional position that remains under consideration. See FAC Ex. 2. And the third is for

“early career PhDs” in other disciplines. See Crow Decl. Ex. 3. These facts foreclose Article

III standing. See Attala Cnty., Miss. Branch of NAACP v. Evans, 37 F.4th 1038, 1042 (5th

Cir. 2022) (plaintiff seeking prospective relief must show “certainly impending” threat of

future harm); Donahue v. City of Boston, 371 F.3d 7, 14 (1st Cir. 2004) (plaintiff must be

eligible for position to stand “able and ready” to apply); Gegenheimer v. Stevenson, No.

1:16-CV-1270-RP, 2017 WL 2880867, at *3 (W.D. Tex. July 5, 2017) (plaintiff not

“personally injured” by discrimination cannot “use the federal courts as a ‘vehicle [to]

vindicat[e] [his] value interests’”).

       B.      Plaintiff’s Claims Are Not Ripe

       To determine ripeness, the Court “evaluate[s] (1) the fitness of the issues for judicial

resolution, and (2) the potential hardship to the parties caused by declining court

consideration.” Lopez v. City of Houston, 617 F.3d 336, 341 (5th Cir. 2010). “[A] case is


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not ripe if further factual development is required.” Choice Inc. of Tex. v. Greenstein, 691

F.3d 710, 715 (5th Cir. 2012). Even when a case presents “purely legal questions,” however,

the plaintiff still “must show some hardship in order to establish ripeness.” Id. “In this sense,

the doctrines of ripeness and standing ‘often overlap in practice[.]’” Lopez, 617 F.3d at 342.

       Plaintiff’s claims fail both prongs. Although he broadly attacks “discriminatory

preferences” in hiring, the facts in Plaintiff’s pleadings depict programs that are both in

nascent stages and contingent on various future actions. See supra Section I(A). These are

“event[s] that ‘may not occur as anticipated, or indeed may not occur at all,’” meaning that

“the claim[s] [are] merely abstract or hypothetical, and thus too speculative to be fit for

judicial review.” Lopez, 617 F.3d at 342. For like reasons, as well as those defeating

standing, Plaintiff cannot show that any “hardship will result from withholding court

consideration.” Choice, 691 F.3d at 715; see Lopez, 617 F.3d at 342 (challenge to

redistricting policy was unripe because hardship could be avoided before election).

II.    Sovereign Immunity Bars Counts 2–3

       TAMU “is an agency of the State of Texas, so a suit against the former is a suit

against the latter,” Sullivan v. Tex. A&M Univ. Sys., 986 F.3d 593, 595 (5th Cir. 2021), and

the State’s immunity extends to TAMU and its officials, Shahrashoob v. Tex. A&M Univ.,

No. H-22-699, 2022 WL 3702264, at *3 (S.D. Tex. Aug. 26, 2022). As Congress has not

abrogated sovereign immunity under Sections 1981 and 1983, Counts 2–3 are barred.

Shahrashoob, 2022 WL 3702264, at *3.

       The only potential exception to official immunity, the Ex parte Young doctrine, is

unavailing. “[A]n official-capacity equitable claim is cognizable under Ex parte Young


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only if, inter alia, (1) the defendant is a state officer, (2) the complaint seeks injunctive

relief for an ongoing violation of federal law, and (3) the defendant state officer bears a

sufficiently close connection to the unlawful conduct that a district court can meaningfully

redress that injury with an injunction against that officer.” Freedom From Religion Found.,

Inc. v. Mack, 4 F.4th 306, 311–12 (5th Cir. 2021).

       Plaintiff fails on the second and third elements. Regarding the former, Plaintiff does

not plead a plausible federal-law violation, see infra Sections III(A)–(D), and any such

violation is not “ongoing,” see supra Section I(B). Regarding the latter, Fifth Circuit law

requires that the state actor “both possess ‘the authority to enforce the challenged law’ and

have a ‘sufficient connection to the enforcement of the challenged act.’” Haverkamp v.

Linthicum, 6 F.4th 662, 669–70 (5th Cir. 2021) (per curiam) (cleaned up). “‘Enforcement’

means ‘compulsion or constraint.’” Tex. All. for Retired Americans v. Scott, 28 F.4th 669,

672 (5th Cir. 2022). The official “must have more than ‘the general duty to see that the

laws of the state are implemented.’” Id. Plaintiff cannot make this showing. Stripped of

conclusory allegations and references to past events, the pleadings rely on each defendant’s

relationship to ACES Plus—excepting Dr. Sams, who is alleged only to “approve faculty

appointments that give tenure on arrival,” and Dr. McGowan, who is also tied to TAMU’s

Diversity Plan. See FAC ¶¶ 16, 31–32. Not only are the pleadings silent on the other

initiatives—the “reserved” line and ACES Fellows—but a university administrator’s

involvement in reviewing fellowship applications or approving hires, standing alone, does

not constitute the specific enforcement authority required to strip them of immunity for

Plaintiff’s claims. See Scott, 28 F.4th at 672–74; Haverkamp, 6 F.4th at 670–72; cf. Harris


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v. Cantu, No. H-14-1312, 2014 WL 6682307, at *4–5 (S.D. Tex. Nov. 24, 2014)

(dismissing equitable claims against university president).

III.   All Counts Fail as a Matter of Law

       Independent of its jurisdictional defects, the amended complaint should be

dismissed under Rule 12(b)(6). Even armed with Defendants’ first motion, Plaintiff has

forgone any substantive re-pleading.

       A.     Count 1 Fails to State a Claim Under Title VI

       At the outset, Title VI does not apply here. The manifest thrust of Plaintiff’s claim

is race-and-sex-based employment discrimination by a federal-funding recipient. See FAC

¶¶ 48–52. Title VI, however, authorizes such claims only in narrow circumstances, namely,

“where a primary objective of the Federal financial assistance is to provide employment.”

42 U.S.C. § 2000d-3; see Johnson v. Transp. Agency, Santa Clara Cnty., 480 U.S. 616,

627 n.6 (1987) (noting Congress’s concern that Title VI otherwise might subsume Title

VII). Accordingly, “[a] cause of action under Title VI requires (1) that the defendant have

received federal financial assistance the primary objective of which is to provide

employment (2) that was applied by the defendant to discriminatory programs or

activities.” Nat’l Ass’n of Gov’t Emps. v. City Pub. Serv. Bd. of San Antonio, 40 F.3d 698,

706 n.9 (5th Cir. 1994) (emphasis added); accord Foster v. Jayden Hospitality, LLC, No.

20-359-SDD, 2021 WL 4498558, at *4 (M.D. La. Sept. 14, 2021).

       Plaintiff still alleges only that TAMU “is a ‘program or activity’ that ‘receives

Federal financial assistance’ within the meaning of Title VI.” FAC ¶ 49. This barebones

charge does not suffice. There is no indication that the “primary objective” of any federal


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funding at TAMU is “to provide employment,” much less that those funds were applied to

the subject initiatives. See Foster, 2021 WL 4498558, at *4; accord Agbefe v. Bd. of Educ.

of Chicago, 538 F. Supp. 3d 833, 838–39 (N.D. Ill. 2021); FASORP v. Harvard Law Review

Ass’n, No. 18-12105-LTS, 2019 WL 3754023, at *9 (D. Mass. Aug. 8, 2019).

       Even if Title VI applied, Plaintiff’s claim would fail. First, Plaintiff lacks statutory

standing. To meet this standard, “the plaintiff must establish that the injury he complains

of (his aggrievement, or the adverse effect upon him) falls within the ‘zone of interests’

sought to be protected” by the statute. Simmons v. UBS Fin. Servs., Inc., 972 F.3d 664, 670

(5th Cir. 2020). For Title VI, “[a] plaintiff must be an intended beneficiary of,

an applicant for, or a participant in a federally funded program.” Jackson v. Katy ISD, 951

F. Supp. 1293, 1298 (S.D. Tex. 1996). Plaintiff is none of these. See Azteca Enters., Inc. v.

DART, 31 F. App’x 839, 2002 WL 261521, at *2 (5th Cir. Feb. 6, 2002) (bidder lacked

statutory standing regarding commuter-transportation project); Veljkovic v. Bd. of Educ. of

Chicago, No. 20-C-1551, 2020 WL 7626735, at *4 (N.D. Ill. Dec. 22, 2020) (teacher failed

zone-of-interests test regarding educational programming).

       Second, Title VI official-capacity claims are properly dismissed when the entity

itself is sued. See Forte v. Dallas Cnty. Cmty. Coll. Dist., No. 3:05-CV-1417-N, 2007 WL

9712189, at *5 (N.D. Tex. Mar. 6, 2007); see also Johnson v. Hurtt, 893 F. Supp. 2d 817,

827–28 (S.D. Tex. 2012) (dismissing official-capacity claims).

       B.     Count 1 Fails to State a Claim Under Title IX

       Plaintiff’s Title IX claim fares no better. Above all, Plaintiff still pleads no facts

evidencing sex discrimination. The only challenged programs—ACES Plus, the “reserved”


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line, and ACES Fellows—are silent on applicants’ sex. See FAC ¶¶ 15–22, 30, Exs. 1–2.

Absent factual grounding, this claim cannot withstand Rule 12(b)(6). See Taylor v. Hartley,

488 F. Supp. 3d 517, 544 (S.D. Tex. 2020) (dismissing discrimination claim supported only

by “conclusory” allegations).

       Regardless, Title VII preempts Plaintiff’s Title IX claim. In this Circuit, “Title VII

provides the exclusive remedy for individuals alleging employment discrimination on the

basis of sex in federally funded educational institutions.” Lakoski v. James, 66 F.3d 751,

753 (5th Cir. 1995). Although Lakoski reserved judgment on whether Title VII excludes

suits seeking only equitable relief under Title IX, id., the Fifth Circuit has reaffirmed that

case’s core holding, Taylor-Travis v. Jackson State Univ., 984 F.3d 1107, 1118 (5th Cir.

2021), and district courts have treated Title VII as supplying the exclusive avenue for

public-employment sex-discrimination claims regardless of remedy, e.g., Vincent v.

Jefferson Cnty. Bd. of Educ., No. 2:21-CV-00514, 2022 WL 107187, at *4 (N.D. Ala. Jan.

11, 2022); Agbefe, 538 F. Supp. 3d at 840–41; Muslow v. Bd. of Supervisors of LSU, No.

19-11793, 2020 WL 1864876, at *15–16 (E.D. La. 2020). And Plaintiff, an aspirational

applicant to TAMU, has no recourse to Title VII. See Ernst v. Methodist Hosp. Sys., 1 F.4th

333, 337–39 (5th Cir. 2021) (Title VII requires exhaustion and adverse action).

       Finally, like Title VI, Title IX official-capacity claims are redundant of claims

against institutions. See Goins v. Hitchcock ISD, 191 F. Supp. 2d 860, 868 (S.D. Tex. 2002)

(dismissing official-capacity claims).




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       C.     Count 2 Fails to State a Claim Under Section 1981

       Plaintiff’s Section 1981 claim meets the same fate. To begin with, Fifth Circuit law

forecloses a standalone claim against public officials for violations of Section 1981. Oden

v. Oktibbeha Cnty., 246 F.3d 458, 462–64 (5th Cir. 2001). Any such claims are actionable

only through Section 1983, id., with all attendant pleading burdens, Jones v. Hosemann,

812 F. App’x 235, 238–39 (5th Cir. 2020) (per curiam).

       Moreover,    Count     2   fails   no   matter    how    framed.    “Any     claim”

under Section 1981 “must initially identify an impaired ‘contractual relationship[’] under

which the plaintiff has rights,” and that includes “plead[ing] facts that plausibly

demonstrate that [defendants’] alleged discrimination concerned a prospective contract.”

Body by Cook, Inc. v. State Farm Mut. Auto. Ins., 869 F.3d 381, 386 (5th Cir. 2017). Here,

however, there is no “contractual relationship” between Plaintiff and TAMU, and the

pleadings do not plausibly show a prospective contract impaired by discrimination. See

Perry v. VHS San Antonio Partners, L.L.C., 990 F.3d 918, 931–32 (5th Cir. 2021)

(affirming Section 1981 dismissal where plaintiff failed to identify contractual rights he

sought to “make and enforce” against defendant); Barnes v. Barrett Ref., Inc., 20 F.3d 466,

1994 WL 121972, at *3 (5th Cir. Mar. 22, 1994) (per curiam) (affirming Section 1981

summary judgment where plaintiff “never even applied” for job).

       D.     Count 3 Fails to State a Claim Under the Equal Protection Clause

       Plaintiff’s final claim is equally infirm. “[T]o establish a violation of the Equal

Protection Clause in the employment context, a plaintiff must prove a racially

discriminatory purpose or motive” within the Title VII framework. Mitchell v. Mills, 895


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F.3d 365, 370 (5th Cir. 2018). The plaintiff must demonstrate, inter alia, that he “was

qualified for the position,” “suffered some adverse employment action,” and “was treated

less favorably than other similarly situated employees.” Caldwell v. Lozano, 689 F. App’x

315, 321 (5th Cir. 2017) (per curiam). Plaintiff still pleads no such facts, and this is equally

dispositive of Count 3. See Chu v. Miss. State Univ., 592 F. App’x 260, 266–67 (5th Cir.

2014) (affirming dismissal where plaintiff pleaded “no factual allegations to support”

discrimination); see also Chhim v. Univ. of Tex. at Austin, 836 F.3d 467, 470 (5th Cir.

2016) (plaintiff must “plead sufficient facts on all of the ultimate elements of a

[discrimination] claim to make his case plausible”).

                                      CONCLUSION

       Defendants respectfully request that the Court dismiss the complaint.




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Dated: February 10, 2023                    Respectfully submitted,


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                          CERTIFICATE OF WORD COUNT

       Pursuant to Rule 18(c) of this Court’s Procedures, I hereby certify that, according

to Microsoft Word, Defendants’ Motion to Dismiss Plaintiff’s First Amended Complaint

contains 5,000 words, exclusive of the case caption, table of contents, table of authorities,

signature block, and certificates.

                                                /s/ M. Carter Crow
                                                M. Carter Crow
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                          CERTIFICATE OF CONFERENCE

       Pursuant to Rule 17(b) of this Court’s Procedures, I hereby certify that, on January

31, 2023, I sent a letter to Plaintiff’s counsel identifying the pleading deficiencies that

Defendants intended to raise by this motion and offering to confer with Plaintiff’s counsel

on same. The letter is attached as Exhibit 8 to the declaration filed with this motion. On

February 7, 2023, Plaintiff’s counsel responded by email that Plaintiff will stand on his

current pleadings. The email is attached as Exhibit 9 to the declaration filed with this motion.

                                                 /s/ M. Carter Crow
                                                 M. Carter Crow
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                           CERTIFICATE OF SERVICE

      Pursuant to Local Rule 5.3, I hereby certify that Defendants’ Motion to Dismiss

Plaintiff’s First Amended Complaint has been served on all parties today, February 10,

2023, via CM/ECF.

                                            /s/ M. Carter Crow
                                            M. Carter Crow
